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               U.S. District Court - Eastern District of Tennessee (Greeneville)
              CRIMINAL DOCKET FOR CASE #: 2:18-cr-00152-DCLC-CRW-1


Case title: USA v. Singletary                                     Date Filed: 10/10/2018

Magistrate judge case number: 2:18-mj-00213-MCLC                  Date Terminated: 07/15/2019


Assigned to: District Judge Clifton L Corker
Referred to: Magistrate Judge Cynthia R
Wyrick

Defendant (1)
James Singletary, III                              represented by Tim S Moore, Former AFD
TERMINATED: 07/15/2019                                            Federal Defender Services of Eastern
                                                                  Tennessee, Inc.- Greene
                                                                  219 West Depot Street
                                                                  Suite 2
                                                                  Greeneville, TN 37743-4909
                                                                  423-636-1301
                                                                  Fax: 423-636-1385
                                                                  Email: tim_moore@fd.org
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Public Defender or
                                                                  Community Defender Appointment

Pending Counts                                                    Disposition
21:841A=CD.F CONTROLLED
SUBSTANCE - SELL, DISTRIBUTE, OR                                  78 months imprisonment, 5 years supervised
DISPENSE                                                          release, $100.00 assessment
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                                 Disposition
None

Highest Offense Level (Terminated)
None
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Complaints                                                         Disposition
21:841A=CD.F -CONTROLLED
SUBSTANCE -SELL, DISTRIBUTE, OR
DISPENSE (METH)



Plaintiff
USA                                                 represented by Thomas Anthony McCauley
                                                                   U S Department of Justice (USAO Greene)
                                                                   Office of U S Attorney
                                                                   220 West Depot Street
                                                                   Suite 423
                                                                   Greeneville, TN 37743
                                                                   423-639-6759
                                                                   Fax: 423-639-6541
                                                                   Email: Thomas.mccauley@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: United States Attorney


Date Filed        #   Docket Text
09/14/2018        1 COMPLAINT as to James Singletary, III (1). (Attachments: # 1 Criminal Cover Sheet -
                    James Singletary, III)(JCK) [2:18-mj-00213-MCLC] (Entered: 09/14/2018)
09/14/2018            Arrest of James Singletary, III. (KDO) [2:18-mj-00213-MCLC] (Entered: 09/14/2018)
09/14/2018        2 Minute Entry for proceedings held before Magistrate Judge Clifton L Corker:Initial
                    Appearance on Complaint as to James Singletary, III held on 9/14/2018. Financial
                    Affidavit executed with Attorney Tim S Moore for James Singletary, III. present and
                    appointed. Detention/Preliminary Hearing set for 9/18/2018 at 1:30 PM in Courtroom 300
                    - Greeneville before Magistrate Judge Clifton L Corker. Defendant remanded to custody of
                    U.S. Marshal. Orders to enter. (Court Reporter DCR)(Tape #4:42-4:51) (KDO) [2:18-mj-
                    00213-MCLC] (Entered: 09/14/2018)
09/14/2018        3 CJA 23 Financial Affidavit by James Singletary, III. Signed by Magistrate Judge Clifton L
                    Corker on 9/14/18. (KDO) [2:18-mj-00213-MCLC] (Entered: 09/14/2018)
09/14/2018        4 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to James Singletary, III.
                    Signed by Magistrate Judge Clifton L Corker on 9/14/18. (KDO) [2:18-mj-00213-MCLC]
                    (Entered: 09/14/2018)
09/14/2018        5 ORDER OF TEMPORARY DETENTION pending hearing as to James Singletary, III.
                    Signed by Magistrate Judge Clifton L Corker on 9/14/18. (KDO) [2:18-mj-00213-MCLC]
                    (Entered: 09/14/2018)
09/18/2018        6 Minute Entry for proceedings held before Magistrate Judge Clifton L
                    Corker:Detention/Preliminary Hearing waived as to James Singletary, III on 9/18/2018.
                    Arraignment/Scheduling set for 10/12/2018 at 9:00 AM in Courtroom 300 - Greeneville
                    before Magistrate Judge Clifton L Corker. Defendant remanded to custody of U.S.
                    Marshal. Order to enter. (Court Reporter DCR)(Tape #1:38-1:42) (KDO) [2:18-mj-00213-
                    MCLC] (Entered: 09/18/2018)
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09/18/2018    7 ORDER OF DETENTION as to James Singletary, III. Upon calling the case, theDefendant
                advised the Court that he waived a preliminary hearing and detention hearing and agreed to
                remain in the custody of the U.S. Marshal pending action by the grand jury. Accordingly,
                the Court sets Defendants initial appearance for October 12, 2018 at 9:00 a.m. Signed by
                Magistrate Judge Clifton L Corker on 9/18/18. (KDO) [2:18-mj-00213-MCLC] (Entered:
                09/18/2018)
09/19/2018    8 Arrest Warrant Returned Executed on 09/14/2018 in case as to James Singletary, III.
                (AMP) [2:18-mj-00213-MCLC] (Entered: 09/19/2018)
10/10/2018    9 INDICTMENT as to James Singletary, III (1) count(s) 1. (Attachments: # 1 Other Criminal
                Cover Sheet)(RET, ) (Entered: 10/10/2018)
10/10/2018   10 Sealed Document (RET, ) (Entered: 10/10/2018)
10/12/2018   11 Minute Entry for proceedings held before Magistrate Judge Clifton L Corker:Arraignment
                as to James Singletary III (1) Count 1 held on 10/12/2018. Attorney Tim Moore for James
                Singletary, III present. Not guilty plea entered. Scheduling Conference as to James
                Singletary, III held on 10/12/2018. The following dates were scheduled; Pretrial
                Conference/Motion hearing set for 11/15/2018 at 1:30 PM in Courtroom 300 - Greeneville
                before Magistrate Judge Clifton L Corker. Motion cut-off is 11/2/2018. Response deadline
                is 11/13/2018. Jury Trial set for 12/11/2018 at 9:00 AM in Courtroom 420 - Greeneville
                before District Judge J Ronnie Greer. The estimated length of trial is two (2) days. Plea
                Agreement due by 11/27/2018. Defendant remanded to custody of U.S. Marshal. Order to
                enter. (Court Reporter DCR)(Tape #9:03-9:09) (KDO) (Entered: 10/12/2018)
10/12/2018   12 ORDER ON DISCOVERY AND SCHEDULING as to James Singletary, III. Signed by
                Magistrate Judge Clifton L Corker on 10/12/18. (SEE ORDER FOR DEADLINES AND
                HEARINGS) (KDO) (Entered: 10/12/2018)
11/01/2018   13 MOTION to Continue by James Singletary, III. (Moore, Tim) (Entered: 11/01/2018)
11/01/2018   14 ORDER Setting Hearing on Motion as to James Singletary 13 MOTION to Continue :
                Motion Hearing set for 11/5/2018 at 1:30 PM in Courtroom 300 - Greeneville before
                Magistrate Judge Clifton L Corker. Defendant's presence is not required. Signed by
                Magistrate Judge Clifton L Corker on 11/1/2018. (LMC) (Entered: 11/01/2018)
11/05/2018   15 Minute Entry for proceedings held before Magistrate Judge Clifton L Corker:Motion
                Hearing as to James Singletary, III held on 11/5/2018 re 13 MOTION to Continue filed by
                James Singletary, III. The following dates were rescheduled; Pretrial Conference/Motion
                hearing set for 1/22/2019 at 9:00 AM in Courtroom 300 - Greeneville before Magistrate
                Judge Clifton L Corker. Motio cut-off is 1/4/2019. Response deadline is 1/18/2019. Jury
                Trial set for 2/21/2019 at 9:00 AM in Courtroom 420 - Greeneville before District Judge J
                Ronnie Greer. The estimated length of trial is two (2)days. Plea Agreement due by
                2/7/2019. Order to enter. (Court Reporter DCR)(Tape #1:45-1:48) (KDO) (Entered:
                11/05/2018)
11/05/2018   16 ORDER granting 13 Motion to Continue as to James Singletary III (1). Signed by
                Magistrate Judge Clifton L Corker on 11/5/18. (SEE ORDER FOR SCHEDULED DATES
                AND DEADLINES) (KDO) (Entered: 11/05/2018)
01/04/2019   17 MOTION to Continue by James Singletary, III. (Moore, Tim) (Entered: 01/04/2019)
01/04/2019   18 ORDER Setting Hearing on Motion 17 MOTION to Continue : Motion Hearing set for
                1/7/2019 at 10:30 AM in Courtroom 300 - Greeneville before Magistrate Judge Clifton L
                Corker. Defendants presence is not required. Signed by Magistrate Judge Clifton L Corker
                on 1/4/19. (KDO) (Entered: 01/04/2019)
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01/07/2019   19 Minute Entry for proceedings held before Magistrate Judge Clifton L Corker:Motion
                Hearing as to James Singletary, III held on 1/7/2019 re 17 MOTION to Continue filed by
                James Singletary, III. The following dates are rescheduled; Pretrial Conference/Motion
                hearing set for 3/7/2019 at 9:00 AM in Courtroom 300 - Greeneville before Magistrate
                Judge Clifton L Corker. Motion cut-off is 2/19/2019. Response deadline is 3/5/2019. Jury
                Trial set for 4/9/2019 at 9:00 AM in Courtroom 420 - Greeneville before District Judge J
                Ronnie Greer. The estimated length of trial is two (2) days. Plea Agreement due by
                3/26/2019. Order to enter. (Court Reporter DCR)(Tape #10:34-10:39) (KDO) (Entered:
                01/07/2019)
01/07/2019   20 ORDER granting 17 Motion to Continue as to James Singletary III (1). Signed by
                Magistrate Judge Clifton L Corker on 1/7/19. (SEE ORDER FOR SCHEDULED DATES
                AND DEADLINES) (KDO) (Entered: 01/07/2019)
02/19/2019   21 NOTICE OF INTENT TO ENTER A PLEA as to James Singletary, III (Moore, Tim)
                (Entered: 02/19/2019)
02/19/2019       NOTICE OF HEARING as to James Singletary, III: Change of Plea Hearing set for
                 4/1/2019 at 9:00 AM in Courtroom 420 - Greeneville before District Judge J Ronnie Greer.
                 (LMC) (Entered: 02/19/2019)
02/19/2019   22 AGREED FACTUAL BASIS as to James Singletary, III. (McCauley, Thomas) (Entered:
                02/19/2019)
02/20/2019   23 PRETRIAL ORDER as to James Singletary, III. In this action, a pretrial conference
                pursuant to Rule 12.1, Federal Rules of Criminal Procedure, and a motion hearing were
                scheduled for March 7, 2019 at 9:00 a.m. No motions havingbeen filed, the pretrial
                conference and motion hearings are CANCELED. This action is hereby assigned for trial
                with a jury before the Honorable J. Ronnie Greer to commence at 9:00 a.m. on April 9,
                2019. This order is entered as a guide to counsel with regard to the trial and/or sentencing
                procedures. Signed by Magistrate Judge Clifton L Corker on 2/20/19. (KDO) (Entered:
                02/20/2019)
03/28/2019       NOTICE OF HEARING as to James Singletary, III: Change of Plea Hearing RESET for
                 4/1/2019 at 1:30 PM in Courtroom 420 - Greeneville before District Judge J Ronnie Greer.
                 TIME CHANGE ONLY. (LMC) (Entered: 03/28/2019)
04/01/2019   24 Minute Entry for proceedings held before District Judge J Ronnie Greer:Change of Plea
                Hearing as to James Singletary, III held on 4/1/2019, Plea entered by James Singletary III
                (1) Guilty Count 1. (Sentencing set for 7/10/2019 09:00 AM in Courtroom 420 -
                Greeneville before District Judge J Ronnie Greer.) (Jury trial set for 04/09/19 is canceled.)
                (Court Reporter Karen Bradley)Defendant Remanded to Custody. (KSH) (Entered:
                04/01/2019)
04/01/2019   25 ORDER as to James Singletary, III. (Sentencing Memorandum due by 6/26/2019.) Signed
                by District Judge J Ronnie Greer on 4/1/19. (KSH) (Entered: 04/01/2019)
06/05/2019   26 PRESENTENCE INVESTIGATION REPORT (Sealed) as to James Singletary, III.
                Objections or a Notice of No Objections must be filed within 14 days pursuant to LR
                83.9(c). Instructions can be found here:
                http://www.tned.uscourts.gov/sites/tned/files/psrs.pdf (RDB) (Entered: 06/05/2019)
06/18/2019   27 NOTICE OF OBJECTIONS to Presentence Investigation Report as to James Singletary,
                III. (Moore, Tim) (Entered: 06/18/2019)
06/18/2019   28 NOTICE OF NO OBJECTIONS to Presentence Investigation Report by USA as to James
                Singletary, III regarding 26 Presentence Investigation Report, (McCauley, Thomas)
                (Entered: 06/18/2019)
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06/26/2019   29 SENTENCING MEMORANDUM by James Singletary, III (Moore, Tim) (Entered:
                06/26/2019)
06/26/2019   30 MOTION for Acceptance of Responsibility pursuant to U.S.S.G. - 3E1.1(b) by USA by
                USA as to James Singletary, III. (McCauley, Thomas) (Entered: 06/26/2019)
06/26/2019   31 SENTENCING MEMORANDUM by USA as to James Singletary, III (McCauley,
                Thomas) (Entered: 06/26/2019)
07/01/2019   32 PRESENTENCE INVESTIGATION REPORT (Addendum)(Sealed) as to James
                Singletary, III (RDB) (Entered: 07/01/2019)
07/01/2019   33 NOTICE OF OBJECTIONS to Presentence Investigation Report as to James Singletary,
                III. (Moore, Tim) (Entered: 07/01/2019)
07/10/2019   34 Minute Entry for proceedings held before District Judge J Ronnie Greer:Sentencing held
                on 7/10/2019 for James Singletary, III (1), Count(s) 1, 78 months imprisonment, 5 years
                supervised release, $100.00 assessment. JUDGMENT TO ENTER. (Court Reporter Karen
                Bradley)Defendant Remanded to Custody. (KSH) (Entered: 07/10/2019)
07/15/2019   35 JUDGMENT as to James Singletary, III (1), Count(s) 1, 78 months imprisonment, 5 years
                supervised release, $100.00 assessment Signed by District Judge J Ronnie Greer on
                7/15/2019. (RET) (Entered: 07/15/2019)
07/15/2019   36 STATEMENT OF REASONS (Sealed) as to James Singletary, III (RET) (Entered:
                07/15/2019)
08/16/2019   37 Judgment Returned Executed by delivering James Singletary, III to FCI Beaumont, TX.
                (KDO) (Entered: 08/16/2019)
10/29/2019   38 COURT REPORTER NOTES re James Singletary, III filed by Karen Bradley of Change of
                Plea before Judge Greer on April 1, 2019. In accordance with 28 U.S.C. Section 753(b), I
                certify that these original notes are a true and correct record of proceedings in the United
                States District Court for the Eastern District of TN before Judge Greer on April 1, 2019. By
                s/ Karen Bradley. (Court Reporter Notes are viewable by court staff only). (KJB) (Entered:
                10/29/2019)
03/06/2020   39 COURT REPORTER NOTES re James Singletary, III filed by Karen Bradley of
                Sentencing before Judge Greer on July 10, 2019. In accordance with 28 U.S.C. Section
                753(b), I certify that these original notes are a true and correct record of proceedings in the
                United States District Court for the Eastern District of TN before Judge Greer on July 10,
                2019. By s/ Karen Bradley. (Court Reporter Notes are viewable by court staff only). (KJB)
                (Entered: 03/06/2020)
02/21/2025   40 TRANSFER OF JURISDICTION ORDER, PART I, as to James Singletary, III. Signed by
                District Judge Clifton L Corker on 2/21/2025. (Given to USPO for service of process).
                (LCK) (Entered: 02/21/2025)
02/24/2025   41 SEALED PETITION AND ORDER as to James Singletary, III. Signed by District Judge
                Clifton L Corker on 2/24/25. (KDO) (Entered: 02/24/2025)
